  18-22417-shl      Doc 22     Filed 09/04/18    Entered 09/04/18 11:01:16         Main Document
                                                Pg 1 of 7

LAW OFFICES OF ALLEN A. KOLBER, ESQ.                         Hearing Date: November 14, 2018
Attorneys for Debtors                                        Hearing Time: 10:00 a.m.
134 Rt. 59, Suite A
Suffern, NY 10901
(845) 918-1277
Allen A. Kolber, Esq. (AK0243)


UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
________________________________________x
In Re:                                                       Chapter 13

ABRAHAM MEISELS                                              Case No. 18-22417(rdd)

                              Debtor.
________________________________________x

       NOTICE OF MOTION FOR AN ORDER PURSUANT TO 11 U.S.C. §§506(a)
       AND 506(d) DETERMINING THE AMOUNT OF SECURED CLAIM OF NATIONSTAR
       MORTGAGE LLC D/B/A MR. COOPER WITH RESPECT TO INVESTMENT
       PROPERTY LOCATED AT 48 N. COLE AVENUE, SPRING VALLEY, NY 10977

       AND OBJECTING TO CLAIMS PURSUANT TO 11 U.S.C. § 502 AND FEDERAL RULE
       OF BANKRUPTCY PROCEDURE 3007                                    ______


S I R S:

       PLEASE TAKE NOTICE that the upon the annexed Affidavit of Debtor ABRAHAM MEISELS

, and his attorney, Allen A. Kolber, Esq., and all Exhibits therein, seeking the entry of an Order pursuant

to 11 U.S.C. §§ 506(a), 506(d) and 502 (a)(1). and Federal Rule of Bankruptcy Procedure 3007, a hearing

will be held on November 14, 2018, at 10:00 a.m. before the Honorable D. Drain, United States

Bankruptcy Judge, at the United States Bankruptcy Court for the Southern District of New York, 300

Quarropas Street, White Plains, New York 10601, as follows:

                  (a) Valuing the secured lien held by NATIONSTAR MORTGAGE LLC D/B/A MR.

                      COOPER against the Debtor’s real property at $215,000 and

                  (b) Reclassifying the unsecured claim of NATIONSTAR MORTGAGE LLC D/B/A

                      MR. COOPER at $458,114.98, and

                  (c) for such other and further relief as to this Court may seem just and proper
  18-22417-shl      Doc 22     Filed 09/04/18     Entered 09/04/18 11:01:16         Main Document
                                                 Pg 2 of 7

       PLEASE TAKE FURTHER NOTICE that objections, if any, to the relief Debtor seeks to obtain

must be in writing, conform to the requirements of the Bankruptcy code, the Bankruptcy Rules and the

Local Rules of the United States Bankruptcy Court for the Southern District of New York, and must be

filed and served no later than three (3) business days prior to the hearing date (“Objection Deadline”).

       PLEASE TAKE FURTHER NOTICE that pursuant to General Order M-182, any objection

filed by parties with representation shall be filed on or before the objection Deadline (i) through the

Bankruptcy Court’s Electronic Filing System which may be accessed at the Bankruptcy Court’s internet

web at http://www.nysb.uscourts.gov, and (ii) in portable document format (PDF) using Adobe

Exchange Software for conversion.

       PLEASE TAKE FURTHER NOTICE that any party that is either without legal representation,

or that is unable to file documents electronically or create documents in PDF format, shall file its

objection on or before the objection Deadline in either Word, WordPerfect or DOS text (ASCII) format

on 3-1/2” floppy diskette in an envelope clearly marked with the case name, case number, type and title

of document, document number of the document to which the objection refers and the file name of the

documents.

       PLEASE TAKE FURTHER NOTICE that a “hard copy” of any objections must be hand

delivered to the Chambers of the Honorable, at the United States Bankruptcy Court, 300 Quarropas

Street, White Plains, New York 10601 on or before the Objection Deadline.

       PLEASE TAKE FURTHER NOTICE that objections, if any, must be served in accordance

with the provisions of General Order M-182 so that they are received on or before the Objection

Deadline by The Law Offices of Allen A. Kolber, Esq., 134 Rt. 59, Suite A, Suffern, NY 10901

Dated: Rockland County, New York
       September 3, 2018,
 18-22417-shl    Doc 22     Filed 09/04/18    Entered 09/04/18 11:01:16   Main Document
                                             Pg 3 of 7

                                                /s/ Allen A. Kolber
                                                ALLEN A. KOLBER, ESQ.
                                                Attorney for Debtor ABRAHAM MEISELS
                                                134 Route 59, Suite A
                                                Suffern, NY 10901
                                                (845) 918-1277


TO:   Krista M. Preuss, Esq.
      Chapter 13 Trustee
      399 Knollwood Road, Suite 102
      White Plains, NY 10603

      U.S. Trustee's Office
      U.S. Federal Office Building
      201 Varick St., Room 1006
      New York, NY 10014

      Michael J. Chatwin, Esq.
      Shapiro, DiCaro & Barak, LLC
      Attorneys for Nationstar Mortgage LLC d/b/a Mr. Cooper
      175 Mile Crossing Blvd.
      Rochester, NY 14624
  18-22417-shl      Doc 22    Filed 09/04/18     Entered 09/04/18 11:01:16       Main Document
                                                Pg 4 of 7


UNITED STATES BANKRUPTCY COURT                             Hearing Date: November 14, 2018
SOUTHERN DISTRICT OF NEW YORK                              Hearing Time: 10:00a.m.
_______________________________________x
In Re:

ABRAHAM MEISELS ,                                          Chapter 13

                                                           Case No. 18-22417(rdd)
                              Debtor.
_______________________________________x

TO THE HONORABLE ROBERT D. DRAIN
UNITED STATES BANKRUPTCY JUDGE:

       DEBTOR’S APPLICATION FOR AN ORDER PURSUANT TO 11 U.S.C. §§506 AND
       506(d) DETERMINING THE AMOUNT OF SECURED CLAIM OF NATIONSTAR
       MORTGAGE LLC D/B/A MR. COOPER WITH RESPECT TO INVESTMENT
       PROPERTY LOCATED AT 48 N. COLE AVENUE, SPRING VALLEY, NY 10977

       AND OBJECTING TO CLAIMS PURSUANT TO 11 U.S.C. § 502 AND FEDERAL RULE
       OF BANKRUPTCY PROCEDURE 3007

       Debtor ABRAHAM MEISELS, by his attorney of record, Allen A. Kolber, Esq., and in support of

his Motion to determine the secured status of a mortgage loan on Debtor’s Investment Property, states as

follows:

Factual Allegation:

      1. The Debtor filed a Petition for relief under Chapter 13 of the United States Bankruptcy Code on

           March 19, 2018.

      2. The Debtor is the owner of certain real property located at 48 N. Cole Avenue, Spring Valley,

           NY 10977 (“the Property”), and maintains this property as an investment property.

      3. A copy of the Deed is annexed hereto as Exhibit “A”.

      4. The subject of this Motion is the NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER

           (“NATIONSTAR MORTGAGE”) mortgage that encumbers this Investment Property. Since

           the filing of the Bankruptcy Petition, the Debtor has continued in the management and

           supervision of the Investment Property.
  18-22417-shl     Doc 22     Filed 09/04/18      Entered 09/04/18 11:01:16           Main Document
                                                 Pg 5 of 7

      5. The Debtor’s goal is to preserve the Investment Property and pay creditors in full or in part with

         employment and rental income.

Appraisal of Residential Real Estate:

      6. On or about April 12, 2018, First Quality Appraisals, a New York State Certified General

         Appraiser, performed an appraisal of the Investment Property and determined it to have a fair

         market value of $215,000. Annexed hereto as Exhibit “B” is a copy of said Appraisal.

      7. Based on the foregoing Appraisal, Debtor submits that the fair market value of the

         Investment Property is $215,000.

Mortgages on the Investment Property:

      8. At the time of the filing of the Petition herein, said property was encumbered by a

         mortgage in favor of NATIONSTAR MORTGAGE LLC d/b/a MR. COOPER, with

         an alleged balance of $673,114.98 (Attached hereto as Exhibit “C is a copy of a Proof of

         Claim filed by NATIONSTAR MORTGAGE LLC d/b/a MR. COOPER, showing a

         balance due of $673,114.98 at the time of the bankruptcy filing.)

      9. The appraised value of the home exceeds the NATIONSTAR MORTGAGE LLC

         d/b/a MR. COOPER, on the Investment Property by $458,114.98.

The Mortgage and Judgment lien held by Nationstar Mortgage LLC d/b/a Mr. Cooper
should be bifurcated into a secured claim of $215,000 and an unsecured claim of $458,114.98.

      10. Section 506(a) of the United States Bankruptcy Code provides, in pertinent part:

              “(a) An allowed claim of a creditor secured by a lien on property in
              which the estate has an interest . . . is a secured claim to the extent of the
              value of such creditor’s interest in the estate’s interest in such property . . .
              and is an unsecured claim to the extent that the value of such creditor’s
              interest . . . is less than the amount of such allowed claim . . . . Such value
              shall be determined in light of the purpose of the valuation and of the
              proposed disposition or use of such property, and in conjunction with any
              hearing on such disposition or use or on a plan affecting such creditor’s
              interest. “ 11 U.S.C. § 506(a).

      11. Section 506(d) of the United States Bankruptcy Code provides, in pertinent part:
  18-22417-shl        Doc 22    Filed 09/04/18     Entered 09/04/18 11:01:16          Main Document
                                                  Pg 6 of 7

               “(d)     To the extent that a lien secures a claim against the debtor that is
                        not an allowed secured claim, such lien is void . . .”

      12. In the instant case, the secured claim of NATIONSTAR MORTGAGE relating to the

          Investment Property should be bifurcated into a secured claim and lien of $215,000 and an

          unsecured claim of $458,114.98 (see 11 U.S.C. § 506(a) and In re Thompson, 352 F.3d 419 (2d

          Cir. 2003).

      13. The facts and circumstances set forth herein do not present novel issues of fact or law and

          Debtors respectfully request the Court to waive the requirement of filing a Memorandum of

          Law.

       WHEREFORE, it is respectfully requested that Debtor’s relief be granted in full and for such

other and further relief that this Court may deem just and proper.

Dated: Rockland County, New York
       September 3, 2018,

                                                       LAW OFFICES OF ALLEN A. KOLBER, ESQ.

                                                       By: _/s/ Allen A. Kolber______________________
                                                               Allen A. Kolber (AK0243)
                                                               Attorneys for Debtor ABRAHAM MEISELS
                                                               134 Rt. 59, Suite A
                                                               Suffern, NY 10901
                                                               (845) 918-1277
  18-22417-shl      Doc 22     Filed 09/04/18    Entered 09/04/18 11:01:16        Main Document
                                                Pg 7 of 7

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
_____________________________________x
In Re:

ABRAHAM MEISELS ,                                                 Chapter 13
                                                            Case No. 18--22668(rdd)
                              Debtor.
_____________________________________x

ORDER DETERMINING AMOUNT OF SECURED CLAIM OF NATIONSTAR MORTGAGE
LLC D/B/A MR. COOPER PURSUANT TO 11 U.S.C. §§ 506(a) AND (506(d) AND
FED.R.BANKR.P. 3007 WITH RESPECT TO THE MORTGAGE ON INVESTMENT
PROPERTY LOCATED AT 48 N. COLE AVENUE, SPRING VALLEY, NY 10977       __

       ABRAHAM MEISELS (the “Debtor”), by his attorney, Allen A. Kolber, Esq., having served and

filed a Motion dated September 3, 2018 in support of an Application to determine the secured status of

and to reclassify the lien of NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER on Debtor’s

Investment Property located at 48 N. Cole Avenue, Spring Valley, NY 10977 (“Investment Property”),

and there being due and sufficient notice of the Motion and the hearing thereon; and upon the record of

the hearing on the Motion; and there being no opposition to the Motion; and after due deliberation it

appearing that the value of the Investment Property is $215,000 and that there is $215,000 of collateral

securing the mortgage held by NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER, and due and

sufficient cause appearing, it is hereby

       ORDERED, that the Motion is granted and further;

       ORDERED that the secured claim of NATIONSTAR MORTGAGE LLC D/B/A MR. COOPER

relating to the Investment Property should be bifurcated into a secured claim and lien of $215,000 and an

unsecured claim of $458,114.98 (see 11 U.S.C. § 506(a) and In re Thompson, 352 F.3d 419 (2d Cir.

2003). If any amendment to such claim is filed that increases the amount of such claim, any such increase

shall also be treated as an unsecured claim.

Dated: White Plains, New York
       ____________________, 2018
                                                     ________________________________
                                                     HONORABLE ROBERT D. DRAIN
                                                     UNITED STATES BANKRUPTCY JUDGE
